EXHIBIT O
             United States Government Accountability Office
             Report to Congressional Requesters




             MEDICAID
July 2014



             FINANCING

             States’ Increased
             Reliance on Funds
             from Health Care
             Providers and Local
             Governments
             Warrants Improved
             CMS Data Collection

              On March 13, 2015, GAO reissued this report in conjunction with the release
              of an e-supplement that provides more detailed and state-level data on
              sources of funds used by states to finance the nonfederal share of their
              Medicaid programs. This data was collected through a questionnaire
              completed by all 50 states and the District of Columbia. The report was
              revised to add links to the e-supplement on the highlights page and pages 4
              and 42. The reissued report also includes a revision on page 14 to the
              amount of total nonfederal share of Medicaid payments from sources
              other than health care providers and local governments and revisions on
              pages 49, 50, and 52 on the number of provider taxes in effect from 2008
              through 2012.


GAO-14-627
                                               July 2014

                                               MEDICAID FINANCING
                                               States’ Increased Reliance on Funds from Health
                                               Care Providers and Local Governments Warrants
                                               Improved CMS Data Collection
Highlights of GAO-14-627, a report to
congressional requesters




Why GAO Did This Study                         What GAO Found
Medicaid, a jointly financed federal-          GAO found, based on a questionnaire sent to state Medicaid agencies, that
state program, cost $432 billion in            states financed 26 percent, or over $46 billion, of the nonfederal share of
2012. States use various sources of            Medicaid expenditures with funds from health care providers and local
funds to finance the nonfederal share,         governments in state fiscal year 2012. State funds were most of the remaining
such as state funds and funds from             nonfederal share.
health care providers and local
governments. Concerns have been                Nationally, states increasingly relied on funds from providers and local
raised about increased Medicaid                governments in recent years to finance the nonfederal share, based on GAO’s
payments that are financed with funds          analysis (see figure). In the three selected states this increase resulted in cost
from providers receiving the Medicaid          shifts to the federal government. While the total amount of funds from all sources,
payments. Although such financing              including state funds, increased during state fiscal years 2008 through 2012,
arrangements are allowed under                 funds from providers and local governments increased as a percentage of the
certain conditions, they can also result       nonfederal share, while state funds decreased. GAO’s review of selected
in shifting costs to the federal               financing arrangements in California, Illinois, and New York illustrates how the
government with limited benefits to            use of funds from providers and local governments can shift costs to the federal
providers and beneficiaries.                   government. For example, in Illinois, a $220 million payment increase for nursing
GAO was asked to review states’                facilities funded by a tax on nursing facilities resulted in an estimated $110 million
financing of the nonfederal share of           increase in federal matching funds and no increase in state general funds, and a
Medicaid. GAO examined the extent to           net payment increase to the facilities, after paying the taxes, of $105 million.
which (1) states have relied on funds
from health care providers and local           Amount of the Nonfederal Share of Medicaid Payments from Health Care Providers and Local
                                               Governments, State Fiscal Years 2008 through 2012
governments to finance the nonfederal
share; (2) this reliance has changed in
recent years, and any implications of
changes; and (3) CMS collects data to
oversee states’ sources of funds. GAO
administered a questionnaire to all
state Medicaid agencies, examined
effects of financing changes in a
nongeneralizable sample of three
states selected in part based on
Medicaid spending and geographic
diversity, and met with CMS officials.

What GAO Recommends
GAO recommends that CMS take
steps to ensure states report accurate
and complete data on all sources of
funds to finance the nonfederal share.
CMS did not concur with GAO’s
recommendation but stated that it will
examine efforts to improve data                The Centers for Medicare & Medicaid Services (CMS)—the federal agency that
collection for oversight. As discussed         oversees Medicaid—has not ensured the data on state Medicaid financing are
in the report, GAO believes its                accurate and complete, and while new initiatives to improve reporting have
recommendation is valid.                       begun, data gaps remain. More reliable data to effectively monitor the program
                                               would allow CMS and others to identify net provider payments and assess the
View GAO-14-627. To view the e-supplement,
click on GAO-15-227SP. For more                effects of the payments on providers, beneficiaries, and the federal government.
information, contact Katherine M. Iritani at   GAO has found that as currently designed, two CMS initiatives to improve data
(202) 512-7114 or iritanik@gao.gov.            collection have data gaps that will limit their effectiveness for CMS’s oversight.
                                                                                          United States Government Accountability Office
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Abbreviations

CMS                 Centers for Medicare & Medicaid Services
CPE                 certified public expenditure
DSH                 Disproportionate Share Hospital
FMAP                federal medical assistance percentage
HCFA                Health Care Financing Administration
IGT                 intergovernmental transfer
MACPAC              Medicaid and CHIP Payment and Access
                    Commission
Recovery Act        American Recovery and Reinvestment Act of 2009
T-MSIS              Transformed Medicaid Statistical Information System
UPL                 Upper Payment Limit



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441 G St. N.W.
Washington, DC 20548




                       July 29, 2014

                       The Honorable Darrell E. Issa
                       Chairman
                       Committee on Oversight and Government Reform
                       House of Representatives

                       The Honorable James Lankford
                       Chairman
                       Subcommittee on Energy Policy, Health Care and Entitlements,
                       Committee on Oversight and Government Reform
                       House of Representatives

                       The Medicaid program involves significant and growing expenditures for
                       the federal government and states, and states have used various sources
                       of funds to help finance their share of the program. 1 In 2012, Medicaid
                       provided health care coverage for 58 million low-income individuals at a
                       cost of $432 billion. 2 The federal government matches each state’s
                       Medicaid expenditures for services according to a state’s federal medical
                       assistance percentage (FMAP). 3 On average, the federal share of
                       Medicaid service expenditures is about 57 percent. States finance the
                       nonfederal share in large part through state general funds and depend on
                       other sources of funds, such as taxes on health care providers and funds
                       from local governments, to finance the remainder. In accordance with
                       federal requirements, states have the flexibility to set payment rates for
                       covered services and generally administer the Medicaid program, subject
                       to the approval and oversight of the Centers for Medicare & Medicaid
                       Services (CMS).




                       1
                        For purposes of this report, sources of funds are the means (e.g., taxes) by which funds
                       are supplied by entities (e.g., providers) to the state to be used to finance the nonfederal
                       share of Medicaid; we do not use the term to refer to the entities themselves.
                       2
                        See Department of Health and Human Services, 2013 Actuarial Report on the Financial
                       Outlook for Medicaid (Washington, D.C.: 2013).The number of individuals covered is the
                       average enrollment over the course of the year.
                       3
                        The FMAP is based on a formula established by law under which the federal share of a
                       state’s Medicaid expenditures for services generally may range from 50 to 83 percent.
                       States with lower per capita income receive a higher FMAP for services.




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Our past work has found that flexibility in federal requirements regarding
states’ calculations of Medicaid provider payments and financing of the
nonfederal share has enabled states to create various financing
arrangements that have affected the share supplied by the federal and
state governments and the amounts paid to providers. 4 Although these
types of arrangements are permissible under certain conditions, they
have resulted in states being able to maximize federal matching funds
and rely less on state general funds. Specifically, states have been able
to shift large shares of Medicaid costs to health care providers 5 and local
governments by taxing health care providers or by requiring local
governments to supply funds to be used for Medicaid payments. 6 In
addition, states have made large supplemental payments—payments that
are separate from the regular payments states make based on claims
submitted for services rendered—to providers that supplied funds to
finance the nonfederal share of the payments, for purposes of obtaining
billions of dollars in additional federal matching funds without a
commensurate increase in state funds used to finance the nonfederal
share of these Medicaid expenditures. Such arrangements have the
effect of shifting costs to the federal government because the federal
government then pays its share of the new payments.

We and others have raised concerns about these financing arrangements
and whether data reported by states are sufficient for CMS to determine
that these arrangements are in compliance with applicable federal
requirements. 7 CMS plays an important role in ensuring the fiscal integrity
of Medicaid. Its responsibilities include ensuring that federal Medicaid
matching funds are provided for eligible expenditures and that the federal


4
 A list of related GAO products appears at the end of this report.
5
 For purposes of this report, health care providers include both private providers, such as
hospitals and nursing homes, that serve Medicaid beneficiaries and state- or county-
owned or -operated providers, including hospitals and nursing homes.
6
 Local government funds can come from local government entities, such as counties,
cities, and local hospital districts, as well as directly from local-government-owned or -
operated providers, such as county hospitals. For purposes of this report, local
government refers to both local government entities and local-government-owned or -
operated providers.
7
 See Medicaid and CHIP Payment and Access Commission, Report to the Congress on
Medicaid and CHIP (Washington, D.C.: March 2014). See GAO, Medicaid: More
Transparency of and Accountability for Supplemental Payments Are Needed, GAO-13-48
(Washington, D.C.: Nov. 26, 2012).




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government and states share in the financing of the Medicaid program as
established by law. But we have reported that CMS has lacked data on
large Medicaid payments made to government providers and on financing
arrangements states have used for these Medicaid payments. 8
Supplemental payments totaled at least $43 billion in federal fiscal year
2011, up from $32 billion federal fiscal year 2010 and at least $23 billion
in federal fiscal year 2006. Because supplemental payments are typically
not paid through states’ Medicaid claims systems, the payments are not
captured in federal data systems and therefore lack transparency for
oversight purposes. 9 In 2003, we designated Medicaid as a high-risk
program, in part because of concerns related to oversight of these
Medicaid payment and financing arrangements. 10

You asked us to study how states are financing the nonfederal share of
their Medicaid programs and whether states’ financing has changed in
recent years. This report provides information on (1) the extent to which
states have relied on funds from health care providers and local
governments to finance the nonfederal share of Medicaid; (2) the extent
to which states have changed their reliance on health care providers and
local governments to help finance the nonfederal share of Medicaid in
recent years, and implications, if any, of these changes; and (3) the
extent to which CMS collects data to oversee states’ use of various
sources of funds.

To determine the extent to which states have relied on funds from health
care providers and local governments to finance the nonfederal share of
Medicaid, we sent a questionnaire to all states and the District of
Columbia. 11 We fielded the questionnaire from July 2013 through
November 2013 and received responses from all states. The
questionnaire collected information on each state’s use of funds from
health care providers and local governments, state general funds, and


8
 See GAO-13-48 and GAO, Medicaid: Improved Federal Oversight of State Financing
Schemes Is Needed, GAO-04-228 (Washington, D.C.: Feb. 13, 2004).
9
 Since 2010 CMS has required states to report supplemental payments when reporting
quarterly expenditures for purposes of claiming federal Medicaid matching funds;
however, payments are reported in the aggregate and not on a provider-specific basis.
10
  See GAO, High Risk Series: An Update, GAO-13-283 (Washington, D.C.: February
2013).
11
    For purposes of this report, “states” refers to the 50 states and the District of Columbia.




Page 3                                          GAO-14-627 State Medicaid Financing Methods
other sources to finance the nonfederal share of Medicaid from state
fiscal year 2008 through state fiscal year 2012, and the type of Medicaid
payments—for example, regular or supplemental—to which the funds
were applied. 12 States reported both actual amounts and estimated
amounts based on the information available to them. 13 We did not
independently verify the data reported by states in the questionnaire;
however, we reviewed published data submitted by state Medicaid
programs to CMS and to outside researchers to assess the
reasonableness of the data reported. We believe the data are reliable for
our purposes. Assessing whether states were compliant with federal
requirements related to nonfederal sources of funds for Medicaid
payments was not within the scope of this review. For additional
questionnaire results reproduced as an e-supplement, see
GAO-15-227SP.

To determine the extent to which states have changed their reliance on
funds from health care providers and local governments to help finance
the nonfederal share of Medicaid in recent years, and what the
implications have been, if any, of these changes, we analyzed
questionnaire responses and obtained more in-depth information on any
implications of changes in reliance on funds from health care providers
and local governments from a nongeneralizable sample of three states.
These states—California, Illinois, and New York—were selected on the
basis of having large Medicaid programs, based on spending for Medicaid
services; making large amounts of certain supplemental payments to
providers; having made changes in sources of funds to finance the
nonfederal share and in Medicaid payment rates from 2008 through 2011;
and geographic diversity. In these three states, we obtained and analyzed
Medicaid payment data from before and after an increase in funds from
health care providers or local governments that occurred during state


12
  For purposes of this report, state funds refers to state general funds and intra-agency
funds, which are intra-agency payments, intra-agency transfers, and intra-agency certified
public expenditures. Other sources of funds include tobacco settlement funds and state
trust funds. Taxes on health care services, or the provision or payment for these services,
are being reported separately as health care provider taxes.

States’ fiscal years are set by states and do not necessarily align with the federal fiscal
year. Most state fiscal years start July 1 and end June 30.
13
  States were asked to report sources of funds used to finance the nonfederal share of
four types of Medicaid payments. See app. I for information about the four types of
Medicaid payments.




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             fiscal years 2008 through 2012 to determine the effect of the change on
             the amounts of Medicaid payments states made to providers and on the
             amounts of state general funds, funds from local governments, and
             federal funds used to finance these payments. We also conducted
             interviews with Medicaid department officials in these states. (See app. I
             for more detail on the scope and methodology used to determine the
             extent to which states have relied on funds from health care providers
             and local government to finance the nonfederal share of Medicaid and to
             select the nongeneralizable sample of three states.) We also interviewed
             CMS officials, including representatives from regional offices, regarding
             states’ use of various sources of funds to finance the nonfederal share of
             Medicaid and CMS oversight. Assessing whether sources of funds, such
             as provider taxes, complied with applicable federal requirements was not
             within the scope of our review. We determined that the questionnaire
             responses states provided were sufficiently reliable for our purposes by
             contacting state Medicaid department officials and clarifying conflicting,
             unclear, or incomplete information. We determined that the data from
             California, Illinois, and New York were sufficiently reliable for our
             purposes by checking the data for discrepancies and omissions and
             interviewing state officials to resolve any identified discrepancies.
             Findings from these three states are not generalizable to other states.

             To determine the extent to which CMS collects data to oversee states’
             use of various sources of funds, we asked CMS officials about the data
             they collect, the reliability of the data, and their oversight of state
             financing of the nonfederal share. We also reviewed relevant federal
             laws, regulations, and guidance. As discussed in the report, we identified
             a number of concerns with the accuracy and completeness of CMS’s
             data.

             We conducted this performance audit from January 2013 to July 2014 in
             accordance with generally accepted government auditing standards.
             Those standards require that we plan and perform the audit to obtain
             sufficient, appropriate evidence to provide a reasonable basis for our
             findings and conclusions based on our audit objectives. We believe that
             the evidence obtained provides a reasonable basis for our findings and
             conclusions based on our audit objectives.


             Within broad federal requirements under Title XIX of the Social Security
Background   Act, each state administers and operates its Medicaid program in
             accordance with a state Medicaid plan, which must be approved by CMS.
             A state Medicaid plan describes the groups of individuals to be covered;


             Page 5                               GAO-14-627 State Medicaid Financing Methods
                          the methods for calculating payments to providers, including which types
                          of providers are eligible to receive payments; and the categories of
                          services covered, such as inpatient hospital services, nursing facility
                          services, and physician services. Any changes a state wishes to make in
                          its Medicaid plan, such as establishing new Medicaid payments to
                          providers or changing methodologies for payment rates for services, must
                          be submitted to CMS for review and approval as a state plan amendment.
                          CMS informs states about Medicaid program requirements through
                          federal regulations, a published State Medicaid Manual, standard letters
                          issued to all state Medicaid directors, and technical guidance manuals on
                          particular topics.


Federal Funds and State   To obtain federal matching funds for their Medicaid payments to
Medicaid Payments         providers, states submit their estimated payments to CMS each quarter
                          for an upcoming quarter. After CMS has approved the estimate, it makes
                          federal matching funds available to the state for the purpose of making
                          Medicaid payments during the quarter. States typically make Medicaid
                          payments to providers with a combination of nonfederal funds and federal
                          funds. After each quarter, states submit a quarterly payment report. 14

                          Federal matching funds are available to states for different types of
                          payments that states make, including payments directly to providers for
                          services rendered, capitation payments to managed care organizations, 15
                          and supplemental payments. States make payments directly to providers
                          under a fee-for-service delivery system. Providers render services to
                          beneficiaries and then submit bills to the state to receive payment; states
                          pay the providers based on established payment rates for the services
                          provided. States also make capitation payments to managed care
                          organizations that contract with the state to provide or arrange for medical
                          services for Medicaid beneficiaries enrolled with the managed care
                          organization. States make payments to managed care organizations, and
                          the organizations pay the providers. Most states use both fee-for-service
                          and managed care delivery systems, with some beneficiaries receiving


                          14
                            CMS reconciles the amount of federal funds advanced to the state at the beginning of
                          the quarter with the amount of federal funds claimed for payments made during the
                          quarter to finalize the federal funding provided to the state. This results in a reconciliation
                          adjustment to finalize the federal reimbursement to the state for the quarter.
                          15
                            A capitation payment is a fixed monthly payment per enrollee that a state prospectively
                          pays to a managed care organization.




                          Page 6                                          GAO-14-627 State Medicaid Financing Methods
                           services through fee-for-service and other beneficiaries receiving services
                           through managed care. Supplemental payments are generally made
                           monthly, quarterly, or annually as lump sum payments. States have some
                           flexibility in determining to whom they make supplemental payments.
                           Supplemental payments include Disproportionate Share Hospital (DSH)
                           payments, which states are required by federal law to make to hospitals
                           that serve large numbers of Medicaid and uninsured low-income
                           individuals. Many states also make other supplemental payments that are
                           not required under federal law. For purposes of this report, we refer to
                           these payments as non-DSH supplemental payments. These payments
                           include Medicaid Upper Payment Limit (UPL) supplemental payments 16
                           and payments made to hospitals and other providers authorized under
                           Medicaid demonstrations. 17


Nonfederal Sources of      States have a significant amount of flexibility in determining which
Funds for State Medicaid   sources of funds to use to finance their nonfederal share, although federal
                           law does impose certain limits on the financing of overall Medicaid
Payments
                           expenditures. For example, states must use state funds to finance at least
                           40 percent of the nonfederal share of total Medicaid expenditures each
                           year. States finance the nonfederal share primarily with state funds,
                           particularly state general funds appropriated directly to the state Medicaid
                           agency, but also with intra-agency funds, whereby other state agencies
                           that receive state appropriations, such as state mental health agencies,
                           supply funds to finance the nonfederal share of Medicaid services they
                           may provide. States may also receive funds to finance the nonfederal
                           share of Medicaid payments from health care providers, such as hospitals
                           or nursing facilities, and local governments, including government-owned


                           16
                             UPL payments are Medicaid payments that are above the standard Medicaid payment
                           rates, but within the upper payment limit, defined as the estimated amount that Medicare
                           would pay for comparable services. This limit is not applied to payments to individual
                           providers and instead applies to payments to all providers rendering specific services
                           within an ownership class, such as state government-owned or -operated facilities that
                           provide inpatient services. Although these payments generally do not have a specified
                           statutory or regulatory purpose, they must be made for allowable Medicaid expenditures
                           and must comply with applicable federal requirements, such as being economical, efficient
                           and ensuring access to care.
                           17
                             Under section 1115 of the Social Security Act, states may apply to and receive approval
                           from CMS for a demonstration that allows states to deviate from their traditional Medicaid
                           programs. Authorities under the demonstrations provide states with the ability to claim
                           Medicaid funds for new types of expenditures, including the costs of making additional
                           payments to providers from funding pools authorized under such demonstrations.




                           Page 7                                       GAO-14-627 State Medicaid Financing Methods
or -operated providers. Health care providers and local governments can
supply funds to be used to finance the nonfederal share through several
sources. For example:

•    A state may levy taxes on health care providers to generate revenues
     to finance the nonfederal share of Medicaid payments. 18 Provider
     taxes are typically imposed on private health care providers. States
     may tax a wide range of services, and health care providers may be
     subject to more than one tax during a year. 19 In addition, states may
     receive donations from providers. Generally, provider taxes and
     donations produce revenues that flow into state treasuries and are
     then directly appropriated to the state Medicaid agency.
•    A state may obtain funds from local governments (e.g., counties or
     cities), or from hospitals or other providers that are owned or operated
     by local governments, via fund transfers to the state—known as
     intergovernmental transfers (IGT)—that can be used to finance the
     nonfederal share of Medicaid payments. Under agency policy, CMS
     requires that IGTs occur before the state makes a Medicaid payment
     to the provider and that the amount of the transfer cannot be greater
     than the nonfederal share of the Medicaid payment amount. CMS
     took this action to curtail states’ ability to claim federal matching funds
     on large Medicaid payments made to certain government providers
     that were then returned to the state in the form of IGTs.
•    A state may obtain funds from local governments (e.g., counties or
     cities), or from hospitals or other providers that are owned or operated
     by local governments, via certifications of spending—known as
     certified public expenditures (CPE)—that can be used to document
     state Medicaid spending in order to obtain federal matching funds.
     CPEs do not involve the transfer of money to be used to finance the
     nonfederal share; rather, the local government provider or entity
     certifies to the state an amount that it has expended for Medicaid-



18
  For purposes of this report, we use the terms provider taxes and health care provider
taxes interchangeably. Provider taxes are defined as a licensing fee, assessment, or
some other mandatory payment that is related to a health care service, the provision of or
authority to provide the service, or the payment for the service. These taxes qualify as
health care related if at least 85 percent of the burden falls on health care providers.
19
  Under federal regulations, there are 18 defined categories of services on which provider
taxes may be imposed, which include inpatient and outpatient hospital services, nursing
facility services, physician services, and services provided through managed care
organizations.




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     covered services provided to Medicaid beneficiaries. A CPE
     represents the total costs (both the federal and the nonfederal share)
     incurred for the Medicaid services. The state has the flexibility to send
     the federal matching funds it receives to the local government or local
     government provider that certified the expenditure or may retain some
     or all of those funds.

State funds that may be used to meet the requirement that at least
40 percent of the nonfederal share of Medicaid be derived from state
funds include state general funds, health care provider taxes imposed by
the state, provider donations received by the state, and intra-agency
funds from non-Medicaid state agencies. The remaining 60 percent of the
nonfederal share for total annual Medicaid expenditures can be derived
from local governments. For example, local governments (such as
counties and cities) may contribute up to 60 percent of the nonfederal
share through IGTs and CPEs. 20 The limit on the percentage of the
nonfederal share that may be financed by local governments is applied on
the basis of each state’s total annual Medicaid expenditures and not on
individual payments or types of payments.

Although use of provider taxes and local-government-provided IGTs and
CPEs to finance Medicaid, including increasing provider payments is
allowed under federal law, their use has raised concerns about states’
ability to shift costs to the federal government. In the late 1980s, some
states began to establish financing arrangements that maximized federal
Medicaid matching funds, for example, by making new payments to the
same providers that were subject to taxes that states used to finance the
nonfederal share of those payments. 21 In response to these financing
arrangements, Congress established federal requirements in the early
1990s to limit states’ ability to rely on provider taxes and donations. After
federal requirements were established to limit provider taxes and
donations, some states implemented similar arrangements involving IGTs


20
  Local governments may also impose health care provider taxes or receive provider
donations that may be used for the nonfederal share if they are in compliance with federal
requirements. Revenue from these sources is generally transferred from the local
government to the state through an IGT.
21
  Starting in the mid-1980s and early 1990s, states also began to rely on providers to
make large donations as part of financing arrangements to maximize federal matching
funds. States would then return the donations by making large Medicaid payments to the
providers that donated the funds, and the states would claim federal matching funds on
those payments.




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from local government providers and DSH and UPL payments to the
same providers. We found that the outcome was the same in that states
maximized federal matching funds by making large payments—
significantly above providers’ costs of providing services—to providers
that were financing the nonfederal share. 22 Congress and CMS also took
certain actions to curtail some of the practices involving excessive DSH
and UPL payments. However, Congress did not impose requirements
upon states’ use of IGTs and CPEs from local governments to finance the
nonfederal share in the same manner as it did for provider taxes and
donations. (See app. II for more details on the history of these Medicaid
financing arrangements used to generate federal payments and the
federal response to restrict them.)

Certain limits and reporting requirements exist for provider taxes and
donations and other sources of funds. For example, when levying a
provider tax, states must not hold providers harmless (e.g., must not
provide a direct or indirect guarantee that providers will receive their
money back). Table 1 provides a summary of federal statutory and
regulatory requirements for health care provider taxes, provider
donations, IGTs, and CPEs.




22
  See GAO, Medicaid Financing: Long-standing Concerns about Inappropriate State
Arrangements Support Need for Improved Federal Oversight, GAO-08-650T (Washington,
D.C.: Apr. 3, 2008).




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Table 1: Federal Statutory and Regulatory Requirements Governing Use and Reporting for Health Care Provider Taxes,
Provider Donations, Intergovernmental Transfers, and Certified Public Expenditures

                                                                                                                    Federal reporting
Source of funds                      Federal requirements governing use                                             requirements
Health care provider                 •     Tax (1) must be broad-based (i.e., imposed on all nonfederal, nonpublic •    States must submit a
      a
taxes                                      providers within a category of services in the state); (2) must be           request if seeking a
                                           uniformly imposed (e.g., the tax is the same amount for all providers        waiver of the broad-
                                                                                                b
                                           furnishing the services within the same category); and (3) must not          based and uniform
                                           hold providers harmless (e.g., must not provide a direct or indirect         requirement
                                           guarantee that providers will receive all or a portion of tax payments   •   States must report their
                                           back)                                                                        revenues from provider
                                     •     Taxes that are at or below 6 percent of the individual provider’s net        taxes on a quarterly basis
                                           patient service revenues are considered not to have provided an
                                                                                                                  c
                                           indirect guarantee that providers will receive their tax payments back
                           d
Provider donations                   •     Donations must be bona fide. To be bona fide, the donor must not be                     •    States must report their
                                                          e
                                           held harmless.                                                                               revenues from provider
                                     •     If the donations do not exceed $5,000 for individual provider or $50,000                     donations on a quarterly
                                           for health care organization per year, they are deemed to be bona fide.                      basis
                                           However, donations may not have a hold-harmless provision that would
                                           return the funds, in all or part, to the donor.
Intergovernmental                    •     Federal law does not restrict states’ use of funds when funds are                       •    None
               f                                                                g
transfer (IGT)                             transferred from local governments.
Medicaid certified public •                Federal law does not restrict states’ use of funds when funds are                       •    None
expenditure                                certified as matchable expenditures by local governments.
Source: GAO analysis of federal laws and regulations. | GAO-14-627

                                                               Note: Centers for Medicare & Medicaid Services (CMS) officials stated that they also request that
                                                               states provide additional information on the sources of the nonfederal share in certain circumstances.
                                                               For example under a 2013 policy, states must annually report on provider payments to demonstrate
                                                               compliance with the UPL. As part of this reporting, CMS asks states to identify the sources of the
                                                               nonfederal share for these payments which may include provider taxes, provider donations, IGTs and
                                                               CPEs.
                                                               a
                                                                42 U.S.C. § 1396b(w), 42 C.F.R. § 433.55-.74. If a tax is imposed by a local government, the tax
                                                               must extend to all services or providers within a category in the area over which the local government
                                                               has jurisdiction.
                                                               b
                                                                States may seek CMS approval of a waiver of either the broad-based or uniformly imposed
                                                               requirements. CMS may waive these requirements only if the net impact of the tax is generally
                                                               redistributive and not directly correlated with Medicaid payments to the providers subject to the tax.
                                                               c
                                                                Taxes at or below the 6 percent threshold are automatically determined to comply with the indirect
                                                               guarantee test, which is one of the three tests required for the hold-harmless requirement.
                                                               Specifically, the indirect guarantee test ensures that states do not provide a direct or indirect
                                                               guarantee that providers will receive their tax payments back. However, states still must comply with
                                                               the remaining hold-harmless provisions. The positive correlation test is violated if a provider paying
                                                               the tax received a payment that is positively correlated to the tax amount or the difference between
                                                               the provider’s Medicaid payment and the tax amount. The Medicaid payment test is violated if all or
                                                               any portion of the Medicaid payment to the provider varies based only on the amount of the total tax
                                                               payment.
                                                               d
                                                                   42 U.S.C. § 1396b(w), 42 C.F.R. § 433.54-.74.
                                                               e
                                                                CMS recently issued guidance explaining an application of this requirement. In May 2014, CMS
                                                               issued a State Medicaid Director Letter that identified arrangements that CMS would find unallowable
                                                               because under the arrangement, the provider is held harmless for its donation (e.g., provided a direct
                                                               or indirect guarantee that the provider will receive all or a portion of the donation back).




                                                               Page 11                                             GAO-14-627 State Medicaid Financing Methods
f
    42 U.S.C. § 1396b(w)(6).
g
 States are prohibited from using IGTs as the nonfederal share if the funds transferred by the local
government were derived from provider taxes or provider-related donations that did not meet federal
requirements. 42 U.S.C. § 1396b(w)(6).


In recent years a number of proposals have been made to further curtail
states’ ability to tax providers for purposes of financing the nonfederal
share of Medicaid payments. These proposals have sought to lower the
tax rate threshold over which the tax is considered to provide a direct or
indirect guarantee that providers will receive their tax payments back. The
threshold is currently 6 percent of net patient service revenues. 23 The
proposals estimated federal savings in the tens of billions of dollars. The
basis for the savings is that as a result of reducing the threshold, states
would have less tax revenue to finance the nonfederal share, and if states
were unable to replace this reduction with funds from other sources of the
nonfederal share, then states would reduce Medicaid payments. For
example:

•       The President’s 2013 budget included a proposal for a phased
        reduction of the health care provider tax threshold from 6 percent of
        net patient revenues in 2014 to 3.5 percent in 2017 and beyond. 24 It
        was estimated that the proposal would result in federal Medicaid
        savings of $21.8 billion from 2015 through 2022.
•       In 2010 the National Commission on Fiscal Responsibility and Reform
        issued a series of deficit reduction proposals, including a proposal to
        curtail and eventually eliminate health care provider taxes. The
        commission estimated that the proposal would result in federal
        Medicaid savings of $5 billion in 2015 and $44 billion from 2012
        through 2020. 25




23
  The Tax Relief and Health Care Act of 2006 lowered the threshold from 6 percent to
5.5 percent, from January 1, 2008, to September 30, 2011. The Congressional Budget
Office estimated that this reduction in the threshold would reduce federal Medicaid
spending by $260 million over this period. The threshold returned to 6 percent on
October 1, 2011. Pub. L. No. 109-432, § 403, 120 Stat. 2922, 2994-5 (2006).
24
 See Office of Management and Budget, Fiscal Year 2013 Budget of the U.S.
Government (Washington, D.C.: 2012).
25
  See National Commission on Fiscal Responsibility and Reform, The Moment of Truth
(Washington, D.C.: 2010).




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•    In 2008 the Congressional Budget Office issued a report on various
     budget-saving proposals that included a proposal for a phased
     reduction of the health care provider tax threshold from 6 percent to
     3 percent, from 2010 through 2014. The Congressional Budget Office
     estimated that this proposal would result in federal Medicaid savings
     of $17 billion from 2010 through 2014 and $48 billion over the 9-year
     period from 2010 through 2019. 26




26
 See Congressional Budget Office, Budget Options Volume I: Health Care (Washington,
D.C.: 2008).




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States Relied on
Funds from Health
Care Providers and
Local Governments to
Finance 26 Percent of
the Nonfederal Share
in 2012, with
Percentages Varying
Significantly among
States
States Collectively        According to our analysis of data reported by states in our questionnaire,
Financed 26 Percent, or    states financed 26 percent, or over $46 billion, of the about $180 billion in
                           the total nonfederal share of Medicaid payments with funds from health
Over $46 Billion, of the
                           care providers and local governments in state fiscal year 2012. Health
Nonfederal Share with      care provider taxes were the largest single source of funds, followed by
Funds from Providers and   transfers of funds from local governments. Of the over $46 billion, states
Local Governments in       received $18.8 billion from health care providers (which includes
2012                       $72 million from provider donations) and $27.9 billion from local
                           governments ($18.1 billion from IGTs and $9.7 billion from CPEs). 27 The
                           source of funds for most of the remaining $133.4 billion in the nonfederal
                           share was state funds ($113.2 billion, or 62.9 percent, from state general
                           funds and $11.9 billion, or 6.6 percent, from intra-agency funds), 28 while
                           other sources of funds, for example, tobacco settlement funds and state
                           trust funds, totaled $8.3 billion, or 4.6 percent. (See fig. 1.)




                           27
                             The sum of the IGTs and CPEs does not equal the total for local governments because
                           of rounding.
                           28
                             These intra-agency funds include contributions from other state agencies, such as state
                           departments of mental health, that pay Medicaid providers, for example, through an intra-
                           agency agreement; a transfer of funds to the state Medicaid agency from a state
                           government entity that has been appropriated state general funds; or a certification of
                           expenditures for Medicaid-covered services provided to a Medicaid beneficiary from a
                           state government entity that has been appropriated state general funds.




                           Page 14                                     GAO-14-627 State Medicaid Financing Methods
Figure 1: The Percentage and Amount of the Nonfederal Share of Medicaid Payments from Health Care Providers, Local
Governments, State Funds, and Other Sources of Funds in State Fiscal Year 2012




                                       Notes: Provider donations totaled $72 million in 2012. The sum of the intergovernmental transfers
                                       and certified public expenditures does not equal the total for local governments because of rounding.



The Nonfederal Share                   The percentage and amount of funds from health care providers and local
Financed with Funds from               governments that states used to finance the nonfederal share of Medicaid
                                       payments varied significantly among states in state fiscal year 2012,
Providers and Local
                                       based on our analysis of state questionnaire responses. In the 48 states
Governments Varied                     that reported using funds from health providers and local governments,
Significantly among States             the percentage of funds from providers and local governments ranged
in 2012                                from less than 1 percent in South Dakota and Virginia to 53 percent in
                                       Missouri. The amount of funds from health care providers and local
                                       governments also varied significantly in the 48 states, from $1 million in



                                       Page 15                                           GAO-14-627 State Medicaid Financing Methods
South Dakota to over $10 billion in California and New York. (See fig. 2
and app. III.)




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Figure 2: The Percentage and Amount of the Nonfederal Share of Medicaid Payments from Health Care Providers and Local
Governments in State Fiscal Year 2012, by State




                                       Page 17                                 GAO-14-627 State Medicaid Financing Methods
States’ Reliance on
Funds from Providers
and Local
Governments Has
Increased, and
Financing
Arrangements in
Three Selected
States Illustrate Cost
Shifts to the Federal
Government
The Percentage of the      Nationally, states’ reliance on funds from health care providers and local
Nonfederal Share           governments to finance the nonfederal share of Medicaid payments
                           increased by over 21 percent from state fiscal year 2008 through state
Financed with Funds from
                           fiscal year 2012, based on our analysis of state questionnaire responses.
Providers and Local        In large part this increase was due to increases in revenues from health
Governments Increased      care provider taxes. While the total amount of funds from all sources,
by Over 21 Percent from    including state funds, increased from 2008 through 2012, funds from
2008 through 2012          providers and local governments increased as a percentage of the
                           nonfederal share, while state funds decreased. The percentage of funds
                           from health care providers and local governments that states used to
                           finance the nonfederal share increased from 21 percent in 2008 to
                           26 percent in 2012. Overall, this increase of 5 percentage points
                           represents an over 21 percent increase in the percentage of the
                           nonfederal share financed with funds from health care providers and local
                           governments over the 5-year period. During the same period, the amount
                           of funds from health care providers and local governments increased from
                           $31.0 billion to $46.6 billion, for an increase of about $15.6 billion. 29
                           Health care provider taxes represented the largest share of the
                           $15.6 billion increase, with an increase of $9.0 billion, from $9.7 billion in



                           29
                             The amount of state funds used to finance the nonfederal share increased from
                           $109.0 billion in 2008 to $125.1 billion in 2012, for an increase of $16.1 billion.




                           Page 18                                      GAO-14-627 State Medicaid Financing Methods
                                       2008 to $18.7 billion in 2012. 30 Provider taxes were typically levied on
                                       institutional providers, such as inpatient hospitals and nursing facilities.
                                       (See app. IV for more information about states’ use of provider taxes to
                                       finance the nonfederal share.) The amount of funds transferred from local
                                       governments through IGTs and CPEs increased by $6.6 billion, from
                                       $21.3 billion in 2008 to $27.9 billion in 2012. (See fig. 3.)

Figure 3: Amount of the Nonfederal Share of Medicaid Payments from Health Care Providers and Local Governments, State
Fiscal Years 2008 through 2012




                                       a
                                        For purposes of this report, we use the term health care provider tax or provider tax to refer to health
                                       care provider taxes, fees, or assessments. The amounts of provider taxes reported include provider
                                       donations. Provider donations totaled $17 million in 2008, $16 million in 2009, $78 million in 2010,
                                       $69 million in 2011, and $72 million in 2012.



                                       30
                                         In addition to provider taxes, states reported a much smaller but growing amount of
                                       funds from provider donations. Provider donations increased by $55 million, from
                                       $17 million in 2008 to $72 million in 2012.




                                       Page 19                                             GAO-14-627 State Medicaid Financing Methods
The extent to which states’ reliance on health care providers and local
governments changed during state fiscal years 2008 through 2012 varied,
with most states reporting an increased reliance on health care providers
and local governments and a few states reporting a decrease. (See fig. 4
and app. V.) Specifically, 37 states reported an increase in the
percentage of the nonfederal share financed with funds from health care
providers and local governments, 11 states reported a decrease in the
percentage from health care providers and local governments, and
3 states reported no use of funds from health care providers and local
governments from 2008 through 2012. 31 Reported increases ranged from
about 1 percent in Pennsylvania, which relied on health care providers
and local governments for 14.4 percent of the nonfederal share in 2008
and 14.5 percent in 2012, to over 5,000 percent in Idaho, which increased
its reliance on health care providers and local governments from less than
1 percent in 2008 to 19 percent in 2012. 32 Of the 11 states that reported a
decrease in the percentage of funds from health care providers and local
governments used to finance the nonfederal share, 6 states—Kentucky,
Minnesota, Missouri, Nevada, North Dakota, and Texas—had a smaller
increase in funds from health care providers and local governments
relative to increases in the amount of funds from state funds and other
sources of funds. The other 5 states—Kansas, Montana, New Hampshire,
North Carolina, and West Virginia—reported a decrease in the total
amount of funds from health care providers and local governments from
2008 through 2012, for example, because one state ended several of its
provider taxes and another discontinued using funds from local
governments to finance the nonfederal share of certain Medicaid
payments.




31
 The three states are Alaska, Delaware, and Hawaii.
32
  Idaho’s increased reliance on health care providers and local governments was due in
part to implementing a provider tax on inpatient and outpatient hospitals in 2009 and on
nursing facilities in 2010 and discontinuing using state general funds as a source of the
nonfederal share of DSH payments beginning in 2010.




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Figure 4: Changes in the Percentage and Amount of the Nonfederal Share of Medicaid Payments from Health Care Providers
and Local Governments, State Fiscal Years 2008 through 2012, by State




                                       Page 21                                 GAO-14-627 State Medicaid Financing Methods
For Supplemental           Based on our analysis of questionnaire responses, the percentage of the
Payments, the Percentage   nonfederal share financed with funds from health care providers and local
                           governments for supplemental payments—both DSH and non-DSH—has
of the Nonfederal Share
                           been relatively high and increasing. In particular, the percentage of the
Financed with Funds from   nonfederal share of supplemental payments financed with funds from
Providers and Local        providers and local governments increased from 57 percent in state fiscal
Governments Increased      year 2008 to 70 percent in state fiscal year 2012. Overall, this increase of
from Over Half to Almost   13 percentage points represents a 24 percent increase in the percentage
                           of the nonfederal share of Medicaid supplemental payments financed with
Three-Quarters during      funds from providers and local governments over the 5-year period.
2008 through 2012
                           In addition, the percentage of the nonfederal share of supplemental
                           payments financed with funds from providers and local governments was
                           significantly higher than for regular Medicaid payments in each year from
                           state fiscal year 2008 through state fiscal year 2012. For example, as
                           illustrated in figure 5, providers and local governments supplied
                           59 percent (or $4.2 billion) of the nonfederal share of non-DSH
                           supplemental payments in 2008 and 74 percent (or $9.2 billion) of the
                           nonfederal share of these payments in 2012. 33 Providers and local
                           governments supplied 18 percent (or $18.8 billion) of the nonfederal
                           share of fee-for-service Medicaid payments in 2008 and 23 percent (or
                           $25.8 billion) of the nonfederal share of fee-for-service Medicaid
                           payments in 2012.




                           33
                             Federal law requires that no more than 60 percent of the nonfederal share is financed by
                           local governments. However, this requirement is applied on the basis of total annual
                           Medicaid program spending and not on individual payments or types of payments.




                           Page 22                                     GAO-14-627 State Medicaid Financing Methods
Figure 5: Percentage of Nonfederal Share of Medicaid Payments from Health Care Providers and Local Governments, State
Funds, and Other Sources of Funds, State Fiscal Years 2008 through 2012, by Medicaid Payment Type




                                       a
                                        “State funds” includes state general funds and intra-agency funds.
                                       b
                                        “Other sources of funds” includes tobacco settlement funds and state trust funds.




                                       Page 23                                           GAO-14-627 State Medicaid Financing Methods
The percentage of the nonfederal share of Medicaid supplemental
payments financed with funds from health care providers and local
governments varied significantly in state fiscal year 2012 among states
that reported using funds from these sources to finance supplemental
payments. Several states relied on health care providers and local
governments for the entire nonfederal share of their supplemental
payments. 34

•    For DSH payments, the percentage of these funds ranged from
     less than 1 percent in South Dakota to 100 percent in seven states—
     Colorado, Florida, Idaho, Mississippi, Nevada, South Carolina, and
     Tennessee. 35 The amount of funds supplied by health care providers
     and local governments in these seven states totaled $507 million.
•    For non-DSH supplemental payments, the percentage of these funds
     ranged from 10.3 percent in Louisiana to 100 percent in seven
     states—Alabama, Idaho, Illinois, Nebraska, Nevada, North Carolina,
     and Wyoming. 36 The amount of funds supplied by health care
     providers and local governments in these seven states totaled
     $1.9 billion.

We and others have raised concerns in the past about financing
arrangements involving Medicaid supplemental payments, which states
often make through large, lump-sum payments to a relatively small




34
  Federal law requires that no more than 60 percent of the nonfederal share is financed by
local governments. However, this requirement is applied on the basis of total annual
Medicaid program spending and not on individual payments or types of payments.
35
  Thirty-five states reported making DSH payments and using funds from health care
providers and local governments to finance these payments; 15 states reported making
DSH payments, but did not report using funds from health care providers and local
governments to finance these payments; and 1 state did not report making DSH payments
in 2012.
36
  Thirty-seven states reported making non-DSH payments and using funds from health
care providers and local governments to finance these payments; 10 states reported
making non-DSH payments, but did not report using funds from health care providers and
local governments to finance these payments; and 4 states did not report making non-
DSH payments in 2012.




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                             number of providers. 37 Non-DSH supplemental payments are not typically
                             reported by states on a provider-specific basis. As a result, it makes it
                             difficult to closely assess and oversee states’ payments made to
                             individual providers, including those providers that may be supplying
                             funds through IGTs or other sources that states use to finance the
                             nonfederal share of the payments.


Recent Changes in How        Our analysis of one large financing arrangement involving financing of the
the Nonfederal Share Was     nonfederal share of Medicaid payments with funds from provider taxes or
                             IGTs in each of three selected states (California, Illinois, and New York)
Financed in the Three
                             illustrates how Medicaid costs can be shifted from the state to the federal
Selected States Illustrate   government, and to a lesser extent, to health care providers and local
How Costs Can Shift to       governments. For example, by increasing providers’ Medicaid payments,
the Federal Government       and requiring providers receiving the payments to supply all or most of
                             the nonfederal share, states claimed an increase in federal matching
                             funds without a commensurate increase in state general funds.

California                   During state fiscal year 2011, changes California made to Medicaid
                             payment amounts to nursing facilities and to the financing of these
                             payments had the effect of shifting costs to the federal government and
                             providers. 38 In 2011, California increased regular Medicaid payments for
                             services provided by skilled nursing facilities and increased the existing
                             provider tax rate levied on skilled nursing facilities that became effective
                             in August 2010. As part of the change to the provider tax, CMS approved
                             the state’s request for a waiver of the requirements that the tax be broad-
                             based and uniformly imposed. The state requested this waiver because it
                             sought to exempt certain types of nursing facilities from paying the
                             provider tax, such as long-term care facilities that provide a broad range
                             of services, including both skilled nursing services and nonnursing




                             37
                               See GAO-13-48 and Department of Health and Human Services, Office of the Inspector
                             General, Audit of Oregon’s Medicaid Upper Payment Limits for Non-State Government
                             Nursing Facilities for State Fiscal Years 2002 and 2003, A-09-03-00055 (Washington,
                             D.C.: 2005); Adequacy of Tennessee’s Medicaid Payments to Nashville Metropolitan
                             Bordeaux Hospital, Long-Term-Care Unit, A-04-03-03023 (Washington, D.C.: 2005); and
                             Adequacy of Washington State’s Medicaid Payments to Newport Community Hospital,
                             Long-Term-Care Unit, A-10-04-00001 (Washington, D.C.: 2005).
                             38
                              State fiscal year 2011 was from July 1, 2010, through June 30, 2011.




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services, and to levy a different tax rate based on the size of the facility as
measured by the number of patient days. 39

By increasing both the regular skilled nursing facility Medicaid payments
and the taxes facilities paid, skilled nursing facility Medicaid payments
totaled $2.94 billion, federal matching payments totaled $1.73 billion, and
the nonfederal share totaled $1.20 billion ($811 million in state general
funds and $393 million in provider tax funds). According to our estimates
based on 2010 and 2011 Medicaid payment data, had the increased
payment and tax changes not gone into effect, skilled nursing facility
Medicaid payments would have totaled $2.80 billion, federal matching
payments would have totaled $1.65 billion, and the nonfederal share
would have totaled $1.15 billion ($822 million in state general funds and
$327 million from the unchanged provider tax). (See fig. 6.) The increased
regular Medicaid payment and provider tax changes had the effect of
increasing federal matching payments by $80 million. The overall
increase in net provider payments—that is, the increase in total
Medicaid payments ($136 million) minus the increase in provider taxes
($66 million)—was $69 million. 40 The state supplied $11 million less in
state general funds than it would have paid had the increased payment
and provider tax changes not gone into effect.




39
  The state changed the methodology for calculating the existing provider tax and
established two provider tax rates. The state also levied the tax on nursing facilities that
were previously exempted from the tax, specifically, certain multilevel facilities. However,
some facilities were still exempted from the tax.
40
  The difference between the increase in total Medicaid payments and the increase in
provider taxes does not equal $69 million because of rounding.




Page 26                                       GAO-14-627 State Medicaid Financing Methods
Figure 6: Estimated Effect of Increased Medicaid Payments and Changes to
Provider Tax on Federal and Nonfederal Share of Total Regular Medicaid Payments
and on Net Medicaid Payments to Skilled Nursing Facilities in California in State
Fiscal Year 2011




Notes: Under the American Recovery and Reinvestment Act of 2009, states received an increased
federal medical assistance percentage (FMAP) from October 1, 2008, through December 31, 2010,
extended by subsequent legislation through June 30, 2011. Generally, from October 1, 2008, through
December 31, 2010, the increase across the states was at least 6.2 percentage points plus additional
federal funds targeted to states with significant increases in unemployment, with a lower increase
available from January through June 2011. For purposes of this report, we have estimated that
California’s FMAP in state fiscal year 2011 was 59.0 percent. The sum of the federal government,
state government, and provider tax dollars may not equal total Medicaid payments because of
rounding. Net payment to skilled nursing facilities does not equal total Medicaid payments minus
provider taxes because of rounding.




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Illinois   In state fiscal year 2012, changes Illinois made to Medicaid payment
           amounts to nursing facilities and the financing of these payments had the
           effect of shifting costs to the federal government and providers. 41 In state
           fiscal year 2012, both an increase in regular Medicaid payments for
           nursing facilities and a new provider tax levied on nursing facilities were in
           effect. 42 These two actions lessened the effect the loss of the enhanced
           FMAP would have had on the state in 2012. Under the American
           Recovery and Reinvestment Act of 2009 (Recovery Act), Illinois’s
           enhanced FMAP was phased out in 2012. 43 The state did not request a
           waiver of the requirements that the tax be broad-based and uniformly
           imposed, and CMS found that the tax was permissible and approved the
           state plan amendment for the payment change.

           By increasing regular nursing facility Medicaid payments and
           implementing an additional provider tax on nursing facilities in 2012, total
           nursing facility Medicaid payments increased to $1.74 billion, federal
           matching payments totaled $871 million, and the nonfederal share totaled
           $869 million ($706 million in state general funds and $163 million in
           provider tax funds). According to our estimates based on 2011 and 2012
           Medicaid payment data, had the increased payment and tax not gone
           into effect, nursing facility Medicaid payments would have totaled
           $1.52 billion, federal matching payments would have totaled $761 million,
           and the nonfederal share would have totaled $760 million ($712 million in
           state general funds and $48 million from an existing provider tax). (See
           fig. 7.) The increased regular Medicaid payment and new provider tax had
           the effect of increasing federal matching payments by $110 million. The
           overall increase in net provider payments—that is, the increase in total
           Medicaid payments ($220 million) minus the total cost of provider tax
           ($115 million)—was $105 million. The state supplied $5 million less in
           state general funds than it would have paid had the increased payment
           and new provider tax not gone into effect.


           41
            State fiscal year 2012 was from July 1, 2011, through June 30, 2012.
           42
             The increase in regular Medicaid payments for nursing facilities took effect on May 1,
           2011, and the new provider tax levied on nursing facilities took effect on July 1, 2011.
           43
             Under the Recovery Act, states received an increased FMAP from October 1, 2008,
           through December 31, 2010, extended by subsequent legislation through June 30, 2011.
           Generally, from October 1, 2008, through December 31, 2010, the increase across the
           states was at least 6.2 percentage points plus additional federal funds targeted to states
           with significant increases in unemployment, with a lower increase available from January
           through June 2011.




           Page 28                                      GAO-14-627 State Medicaid Financing Methods
Figure 7: Estimated Effect of Increased Medicaid Payments and New Provider Tax
on Federal and Nonfederal Share of Total Regular Medicaid Payments and on Net
Medicaid Payments to Nursing Facilities in Illinois in State Fiscal Year 2012




Notes: Under the American Recovery and Reinvestment Act of 2009, states received an increased
federal medical assistance percentage (FMAP) from October 1, 2008, through December 31, 2010,
extended by subsequent legislation through June 30, 2011. Generally, from October 1, 2008, through
December 31, 2010, the increase across the states was at least 6.2 percentage points plus additional
federal funds targeted to states with significant increases in unemployment, with a lower increase
available from January through June 2011. For purposes of this report, we have estimated that
Illinois’s FMAP in state fiscal year 2012 was 50.1 percent. In state fiscal year 2012, the FMAPs in
effect in Illinois were 50.2 percent from July 1, 2011, through September 30, 2011, and 50.0 percent
from October 1, 2011, through June 30, 2012.




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New York   In state fiscal year 2009, changes New York made to Medicaid payments
           for inpatient hospital services and increases in the amount of IGTs from a
           local government had the effect of shifting costs for new Medicaid
           payments to the federal government and local government. 44 At the same
           time, the FMAP increased under the Recovery Act. For state fiscal year
           2009, New York reduced its regular Medicaid payment rates for inpatient
           hospital services. In state fiscal year 2009, the state increased the
           amount of non-DSH supplemental payments it made for inpatient
           services, which resulted in increased payments to two local government
           hospitals. The state financed the nonfederal share of these payments with
           IGTs from the local government that owns and operates the two hospitals.
           In 2008, state regular payments to the two hospitals totaled $105 million
           and supplemental payments totaled $218 million. In 2009, state regular
           payments to the two hospitals totaled $124 million and supplemental
           payments totaled $356 million to the two hospitals. As illustrated in figure
           8, as a result of these actions 45:

           •     Total Medicaid payments to the two local government hospitals for
                 inpatient services increased by $157 million, from $322 million in 2008
                 to $480 million in 2009. 46
           •     Provider payments net the amount of IGTs increased by $119 million,
                 from $199 million in 2008 to $318 million in 2009.
           •     Federal matching funds for regular Medicaid payments and non-DSH
                 supplemental payments increased by $118 million, from $175 million
                 in 2008 to $294 million in 2009. 47 An estimated $33 million of the
                 increase is attributable to an increase in the FMAP under the
                 Recovery Act.



           44
               State fiscal year 2009 was from April 1, 2009, through March 31, 2010.
           45
             The amount of non-DSH supplemental payments the state can make to local
           government hospitals is based on the difference between the state’s regular Medicaid
           payments and the upper limit on what the federal government will pay as its share of
           Medicaid payments, which is based on what Medicare would pay for comparable services.
           As a result, by lowering regular Medicaid payment rates, the state was able to increase
           the amount of non-DSH supplemental payments it could make.
           46
             The difference between the total Medicaid payments in 2008 and 2012 does not equal
           $157 million because of rounding.
           47
             The difference between the federal matching funds in 2008 and 2012 does not equal
           $118 million because of rounding.




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•    State general funds for regular Medicaid payments did not change,
     totaling $24 million in both 2008 and 2009. 48




48
  State general funds were not used to finance the nonfederal share of non-DSH
supplemental payments in 2008 or 2009.




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Figure 8: The Effect of Increased Medicaid Supplemental Payments and Amounts of Intergovernmental Transfers on Federal
and Nonfederal Share of Total Medicaid Payments and on Medicaid Payments Net of Intergovernmental Transfers for
Inpatient Services to Two Hospitals in New York from State Fiscal Years 2008 to 2009




                                       Notes: Under the American Recovery and Reinvestment Act of 2009, states received an increased
                                       federal medical assistance percentage (FMAP) from October 1, 2008, through December 31, 2010,
                                       extended by subsequent legislation through June 30, 2011. Generally, from October 1, 2008, through
                                       December 31, 2010, the increase across the states was at least 6.2 percentage points plus additional
                                       federal funds targeted to states with significant increases in unemployment, with a lower increase
                                       available from January through June 2011. For purposes of this report, we have estimated that New
                                       York’s FMAP in state fiscal year 2009 was 61.2 percent.


                                       In total, our analysis of states’ questionnaire responses shows that all
                                       three states relied on funds from health care providers and local
                                       governments to finance billions of dollars of the nonfederal share of


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Medicaid. As illustrated in table 2, in California, Illinois, and New York the
amount of funds from health care providers and local governments
increased from state fiscal year 2008 through state fiscal year 2012. For
California and Illinois, the state’s reliance on funds from providers and
local governments to finance the nonfederal share increased as the
percentage of the nonfederal share that states financed with funds from
them increased. In New York, while reliance on providers and local
governments remained about the same, the state received more than
one-third of funds to finance the nonfederal share from health care
providers and local governments in 2008 and 2012.

Table 2: The Amount and Percentage of the Nonfederal Share of Medicaid
Payments States Financed with Funds from Health Care Providers and Local
Governments, State Funds, and Other Sources of Funds in California, Illinois, and
New York in State Fiscal Years 2008 and 2012

    Dollars in billions
                                                           2008 Dollars              2012 Dollars
                                                        (percentage of            (percentage of
    State         Funds from                          nonfederal share)         nonfederal share)
    California    Health care providers
                                        a
                  and local governments                        $6.3 (33%)            $10.4 (41%)
                                b
                  State funds                                    12.5 (67)               14.8 (59)
                                           c
                  Other sources of funds                            0.0 (0)                0.0 (0)
                  Total nonfederal share                        18.8 (100)             25.2 (100)
    Illinois      Health care providers and
                  local governments                                0.8 (13)               1.9 (31)
                  State funds                                      4.8 (76)               3.9 (63)
                  Other sources of funds                           0.7 (11)                0.4 (6)
                  Total nonfederal share                         6.3 (100)               6.2 (100)
    New York      Health care providers and
                  local governments                                8.1 (35)              10.3 (36)
                  State funds                                    15.3 (65)               18.4 (64)
                  Other sources of funds                            0.0 (0)                0.0 (0)
                  Total nonfederal share                        23.4 (100)             28.6 (100)
Source: GAO. | GAO-14-627

Note: Dollars may not equal totals because of rounding.
a
 “Health care providers and local governments” includes funds from health care providers though
provider taxes and provider donations and from local governments through intergovernmental
transfers and certified public expenditures.
b
    “State funds” includes state general funds and intra-agency funds.
c
 “Other sources of funds” includes tobacco settlement funds and state trust funds.




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CMS Has Not
Ensured Its Data on
Sources of Funds
States Use to
Finance Medicaid Are
Accurate and
Complete, and New
Reporting Initiatives
Fall Short of What Is
Needed for Oversight
CMS Has Not Ensured Its     CMS has not assessed the accuracy and completeness of data it collects
Data to Oversee States’     from states on the amount of health care provider taxes and provider
                            donations states use to finance the nonfederal share of Medicaid
Use of Provider Taxes and
                            payments. Since 1992, states have been required to report the amount of
Funds from Local            funds collected from health care provider taxes and provider donations. 49
Governments Are             Under federal regulations, CMS has the authority to withhold federal
Accurate and Complete       matching funds for states that do not comply with these reporting
                            requirements. In March 2014, CMS officials said that the agency could
                            not attest to the accuracy of data that states reported on their use of
                            provider taxes and donations, but that states were likely underreporting
                            their use of these sources of funds. CMS officials also said that the
                            agency has not withheld federal matching funds when it identified that a
                            state’s reporting of the amount of funds collected from health care
                            provider taxes and provider donations was incomplete because the data
                            are reported for informational purposes only and not to enable the state to
                            claim federal matching funds. Instead, CMS would inform the state that it
                            is obligated to report these data. CMS officials stated that the agency
                            does not have a systematic process for identifying when data are
                            accurate and complete, but that the agency may identify inaccurate or
                            incomplete reporting when conducting other review activities, such as
                            financial management reviews, which may include an assessment of



                            49
                              States are required to submit information on taxes collected and donations received on
                            the quarterly CMS 64 expenditure report.




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provider taxes. 50 When we compared the provider tax data reported to
CMS in 2012 with state responses to our questionnaire, we found
evidence of incomplete reporting. Specifically, 6 of the 47 states 51 that
reported in our questionnaire that they had at least one health care
provider tax or provider donation in effect that year did not report a tax or
donation to CMS in 2012. 52

CMS also does not collect complete data from all states on the amount of
local government funds—IGTs and CPEs—used to finance the
nonfederal share of total annual Medicaid expenditures. Although federal
requirements limit the percentage of the nonfederal share that states may
finance with IGTs and CPEs, states are not required to submit data on the
amount of funds from these sources. 53 CMS does regularly ask states to
provide general information on funds from these sources when a state
proposes a change to Medicaid payments to providers. Specifically, when
a state proposes a state plan amendment to change payments to
providers, it is required to answer standard CMS questions, including a
question asking states to describe the sources of the nonfederal share
used to finance the Medicaid payments. The information provided varies
by state, but CMS officials reported that states are not required to identify
the amount of funds provided by or on behalf of any specific providers
and the amount of total Medicaid payments made to the providers.




50
  Financial management reviews typically look at specific Medicaid service expenditures
and are useful in identifying where additional policy clarification or oversight may be
needed. In 2012, CMS conducted financial management reviews on health care provider
taxes in four states. In 2010 and 2011, CMS did not conduct any financial management
reviews on health care provider taxes.
51
  Four states—Alaska, Delaware, Hawaii, and New Mexico—reported in our questionnaire
that they did not have any health care provider tax, fee, and/or assessment or provider
donation in effect during state fiscal year 2012 and therefore would not have reported
information about these sources of the nonfederal share to CMS.
52
  Six states—Arizona, the District of Columbia, New Jersey, South Dakota, Utah, and
Virginia—did not report to CMS any health care provider taxes and provider donations as
the nonfederal share of Medicaid expenditures. However, these states reported to us that
they levied provider taxes in state fiscal year 2012.
53
  Unlike for provider taxes, federal law does not require states to report amounts of IGTs
and CPEs used to finance the nonfederal share of Medicaid.




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                            According to federal internal control standards, federal agencies should
                            collect accurate and complete data to monitor programs they oversee. 54
                            CMS’s ability to oversee the Medicaid program is limited because the
                            agency does not collect accurate and complete data on the amount of
                            funds supplied by health care providers and local governments to states
                            to finance the nonfederal share of Medicaid. For example, CMS is unable
                            to identify the extent to which increasing federal funds are a result of state
                            Medicaid payments that are financed with funds supplied by health care
                            providers and how such financing arrangements affect beneficiary access
                            to care.


CMS Has Begun Two           CMS and others have recognized the need for better data from states on
Initiatives to Require      the nonfederal share of Medicaid. In March 2013, CMS issued a State
                            Medicaid Director Letter describing the need for better data and more
Improved Reporting of the
                            frequent analysis of Medicaid data, including the sources of nonfederal
Nonfederal Share of         share of Medicaid payments, to monitor program integrity. 55 CMS noted
Medicaid Payments, but      that states have considerable discretion in the manner in which they
Gaps in Needed Data         operate their programs, but should always employ that flexibility in ways
Remain                      that enhance care, promote overall program effectiveness and efficiency,
                            and safeguard dollars expended, whether originating from federal or state
                            sources. Others have also recognized the need for improved payment
                            and financing information. In particular, the Medicaid and CHIP Payment
                            and Access Commission (MACPAC)—the commission created by
                            Congress to study Medicaid payment and access—reported in March
                            2014 the need for improved data on the sources of funds used by states
                            to finance the nonfederal share. MACPAC noted the need to identify net
                            Medicaid payments—the amount of Medicaid payment that providers
                            receive less the amount that providers supply toward the nonfederal
                            share of Medicaid—to assess whether payments are set at appropriate
                            levels and to assess the effects of the payments on providers and
                            beneficiaries. MACPAC found that there are insufficient data at the
                            federal level to do this, however, because data regarding sources of the




                            54
                             See GAO, Standards for Internal Control in the Federal Government,
                            GAO/AIMD-00-21.3.1 (Washington, D.C.: November 1999).
                            55
                             See Centers for Medicare & Medicaid Services, Re: Federal and State Oversight of
                            Medicaid Expenditures (SMD#13-003) (Baltimore, Md.: Mar. 18, 2013).




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nonfederal share are not reported to the federal government at the
provider level in a readily usable format. 56

CMS has begun implementing two initiatives that may improve the
agency’s ability to oversee states’ financing of Medicaid payments;
however, based on our analysis, as the initiatives are currently designed,
data gaps will limit their effectiveness in CMS’s oversight of the Medicaid
program. CMS’s first initiative—to improve oversight of certain Medicaid
supplemental payments—requires states to report data more frequently,
but gaps in reporting remain. The initiative does not ensure that CMS will
have data to allow it and others to assess net payments to providers,
particularly to institutional providers that in total receive billions of dollars
in Medicaid payments annually. The initiative, which began in June 2013,
requires states to, among other actions, report annually on the source of
funds for the nonfederal share of Medicaid payments made to hospitals,
nursing facilities, and other institutional providers. However, in May 2014,
CMS officials said that state reporting of funds from providers for these
Medicaid payments would not be required on a facility-specific basis. As a
result, CMS will not have information to determine net payments to
institutional providers, once provider taxes, IGTs, CPEs, and other
sources of funds are considered in view of total payments the provider
received.

CMS’s second initiative—to enhance its Medicaid claims data system—is
expected to collect information on the source of funds for the nonfederal
share of Medicaid payments in some, but not all, cases, and has faced
implementation delays. CMS is currently developing an enhanced
Medicaid claims data system—called the Transformed Medicaid
Statistical Information System (T-MSIS)—which it has cited as a key tool
for providing the federal government and states with better information
with which to manage and monitor Medicaid program integrity, including
identifying waste, fraud, and abuse. 57 T-MSIS will require states to report
to CMS information not currently collected on individual Medicaid
payments, including provider-specific supplemental payments, and
sources of funds for the nonfederal share of all Medicaid payments by



56
 See Medicaid and CHIP Payment and Access Commission, Report to the Congress on
Medicaid and CHIP (Washington, D.C.: March 2014).
57
  See Centers for Medicare & Medicaid Services, Re: Transformed Medicaid Statistical
Information System (T-MSIS) Data (SMD#13-004) (Baltimore, Md.: Aug. 23, 2013).




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              provider. 58 States will report payment data more frequently than they are
              now required to, reporting to CMS monthly instead of quarterly. However,
              we found that the information on sources of funds for the nonfederal
              share will be limited. Specifically, in cases where a state used more than
              one source to finance the nonfederal share of a Medicaid payment (such
              as a combination of state general funds and IGTs), T-MSIS as currently
              planned limits the state to reporting one source of the nonfederal share,
              even if multiple sources are used. CMS officials also noted that states are
              not likely to submit information on sources of funds for the nonfederal
              share because most of the states have had difficulties collecting this
              information at a provider-specific level. In addition, CMS officials said that
              it is unlikely that T-MSIS will provide complete information for oversight
              for some time. In February 2014, CMS officials reported that CMS would
              be able to accept T-MSIS state data files beginning in July 2014.
              However, CMS officials said that complete reporting from all states is not
              expected in July and they were uncertain when all states would be
              capable of reporting all of the new information required under T-MSIS.
              CMS stated, however, that the agency has informed states of their
              expectation that all states will be transitioned to T-MSIS by January 2015.


              Medicaid represents significant and growing expenditures for the federal
Conclusions   government and states. States have increasingly turned to sources of
              funds other than state general funds to finance the nonfederal share of
              their Medicaid programs. These sources include levying taxes on health
              care providers and receiving funding transfers from local governments
              and local government providers to help finance the nonfederal share of
              Medicaid. These financing arrangements can have the effect of shifting
              costs of Medicaid from states to the federal government, while benefits to
              providers, which may be financing a large share of any new payments,
              and the beneficiaries whom they may serve are less apparent. Although
              such arrangements can help provide fiscal relief to states and are allowed
              under Medicaid, their use has implications for the intergovernmental
              nature of Medicaid and federal and state partnership. Such arrangements
              may also provide inappropriate incentives to states to increase payments
              to providers that are financing the nonfederal share above what states
              would have paid otherwise, effectively providing an incentive to make


              58
                Under T-MSIS there will be approximately 1,000 data elements, as opposed to the
              approximately 400 data elements states report to CMS under the current Medicaid claims
              data system.




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                     higher payments to those providers that supplied funds to finance the
                     nonfederal share of the payments. To some extent, the use of providers
                     and local governments that serve beneficiaries to fund new payments
                     may obscure how the payments may be affecting beneficiary access, if at
                     all.

                     To oversee the Medicaid program and assess the need for and make
                     changes to the program, CMS, federal policymakers, and other
                     stakeholders need accurate and complete information on provider
                     payments and sources of funds to finance the nonfederal share. Without
                     such information, it is difficult to track trends in financing the nonfederal
                     share, to oversee compliance with current limits and requirements on
                     financing the nonfederal share, and to examine the extent to which the
                     federal government’s increased spending is commensurate with an
                     increase in net payments realized by providers and, in turn, improves
                     beneficiary access to needed health care services. To understand how
                     best to ensure that the growing program is sustainable and the burden of
                     the program on providers that serve beneficiaries is manageable, it is
                     important to understand the extent to which increased reliance on
                     providers and local governments to fund the nonfederal share of Medicaid
                     primarily serves as a method of fiscal relief for states. CMS does not
                     collect accurate and complete data from all states on the various sources
                     of funds to finance the nonfederal share to make such an assessment.
                     Recent initiatives suggest that CMS recognizes that it needs more
                     accurate and more complete data from states on the sources of the
                     nonfederal share, particularly for Medicaid payments to institutional
                     providers that states may rely on to help finance the nonfederal share, to
                     effectively oversee the program. As currently designed, the initiatives will
                     not provide all the data needed to do so.


                     We recommend that the Administrator of CMS develop a data collection
Recommendation for   strategy that ensures that states report accurate and complete data on all
Executive Action     sources of funds used to finance the nonfederal share of Medicaid
                     payments. There are short- and long-term possibilities for pursuing the
                     data collection strategy, including

                     •   in the short-term, as part of its ongoing initiative to annually collect
                         data on Medicaid payments made to hospitals, nursing facilities, and
                         other institutional providers, CMS could collect accurate and complete
                         facility-specific data on the sources of funds used to finance the
                         nonfederal share of the Medicaid payments.




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                     •   in the long-term, as part of its ongoing initiative to develop an
                         enhanced Medicaid claims data system (T-MSIS), CMS could ensure
                         that T-MSIS will be capable of capturing information on all sources of
                         funds used to finance the nonfederal share of Medicaid payments,
                         and, once the system becomes operational, ensure that states report
                         this information for supplemental Medicaid payments and other high-
                         risk Medicaid payments.


                     We provided a draft of this report to HHS for comment. In its written
Agency Comments      comments, HHS acknowledged that it does not have adequate data on
and Our Evaluation   state financing methods for overseeing compliance with a certain federal
                     requirement related to the nonfederal share—the 60 percent limit on
                     contributions from local governments to finance the nonfederal share—
                     and that it will examine efforts to improve data collection toward this end.
                     HHS also stated that it is working to identify needs for improvement in
                     current payment and financing review processes. HHS’s acknowledgment
                     is consistent with our recommendation to develop a data collection
                     strategy that ensures states report accurate and complete data on all
                     sources of funds used to finance the nonfederal share of Medicaid
                     payments. However, HHS did not concur with two options our
                     recommendation suggested for short- and long-term ways of improving
                     agency data collection. In particular, HHS disagreed with suggestions that
                     facility-specific data are needed for oversight and that T-MSIS may be an
                     appropriate means for collecting financing data. HHS believes that its
                     current financing reviews are sufficiently reviewing provider-level data.

                     We believe the findings of our report illustrate why more complete data
                     collection is needed. States are increasingly relying on providers and
                     local governments to finance Medicaid payments, which, while allowed
                     under federal requirements, can have the effect of shifting costs of
                     Medicaid from states to the federal government and may be contributing
                     to a lack of transparency around net payments to individual providers. For
                     these reasons we continue to believe it is important that CMS and federal
                     policymakers have more complete information about how increasing
                     federal costs are impacting the Medicaid program, including beneficiaries
                     and the providers who serve them. HHS’s comments are reprinted in
                     appendix VI. HHS also provided technical comments, which we
                     incorporated as appropriate.




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We are sending copies of this report to the Secretary of Health and
Human Services, the Administrator of the Centers for Medicare &
Medicaid Services, and other interested parties. In addition, the report is
available at no charge on the GAO website at http://www.gao.gov.

If you or your staff have any questions about this report, please contact
me at (202) 512-7114 or iritanik@gao.gov. Contact points for our Offices
of Congressional Relations and Public Affairs may be found on the
last page of this report. Major contributors to this report are listed in
appendix VII.




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Director, Health Care




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                       Questionnaire and Analysis of Changes in
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Questionnaire and Analysis of Changes in
Medicaid Financing in Three Selected States
                       To examine the extent to which states rely on funds from health care
                       providers and local governments to finance the nonfederal share of
                       Medicaid and the extent to which states’ reliance on health care providers
                       and local governments has changed over time, we compiled information
                       from all 50 states and the District of Columbia using a web-based
                       questionnaire. 1 For additional questionnaire results reproduced as an e-
                       supplement, see GAO-15-227SP. To examine the implications of
                       changes in states’ reliance on health care providers and local
                       governments to finance the nonfederal share, we analyzed Medicaid
                       financing data for a selected financing arrangement instituted by the state
                       in a nongeneralizable sample of three selected states.


                       To provide information about the extent to which states are relying on
Information on Funds   funds from health care providers and local governments to finance the
Used to Finance the    nonfederal share of Medicaid and how this reliance has changed in recent
                       years, we analyzed data from our web-based questionnaire sent to
Nonfederal Share       knowledgeable Medicaid officials in all 50 states and the District of
from 50 States and     Columbia. The questionnaire asked about states’ use of various sources
                       of funds to finance the nonfederal share of Medicaid expenditures during
the District of        state fiscal years 2008 through 2012. Specifically, the questionnaire
Columbia               requested data on the following:

                       •   The total amount of each of the following sources of the nonfederal
                           share:
                           •     state general funds;
                           •     health care provider taxes, fees, and/ or assessments;
                           •     provider donations;
                           •     intergovernmental transfers;
                           •     certified public expenditures;
                           •     intra-state agency payments/ transfers/ certified public
                                 expenditures; and
                           •     other funding sources
                                 that were used to finance each of four types of Medicaid
                                 payments—capitation payments to managed care organizations;


                       1
                       For purposes of this report, “states” refers to the 50 states and the District of Columbia.




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          fee-for-service Medicaid payments; Medicaid Disproportionate
          Share Hospital (DSH) payments; and other Medicaid payments,
          including supplemental payments made under the Upper Payment
          Limit, special funding pool payments made under Medicaid
          demonstrations, and episodic or bundled payments, in each year;
          and
•   The types of provider taxes levied in each state, the ways in which
    taxes are levied, and the uses of revenue collected from the taxes.

During the development of our questionnaire, we pretested it with state
Medicaid officials from four states—Connecticut, Georgia, Missouri, and
New York—to ensure that our questions and response choices were
clear, appropriate, and answerable. The states selected for a pretest were
diverse with respect to the size of Medicaid program and geography. We
made changes to the content of the questionnaire based on their
feedback. Questionnaire fielding began on July 1, 2013, and we received
the final state response on November 14, 2013. All 51 states responded
to the questionnaire.

Because we sent the questionnaire to knowledgeable Medicaid officials in
each of the 51 states, it was not subject to sampling error. However, the
practical difficulties of fielding any questionnaire may introduce errors,
commonly referred to as nonsampling errors. For example, differences in
how a particular question was interpreted, in the sources of information
that were available to respondents, or in how the data were entered into a
database or were analyzed could introduce unwanted variability, or bias,
into the questionnaire results. We encountered instances of nonsampling
error in analyzing the questionnaire responses. Specifically, in some
instances, respondents provided conflicting, unclear, or incomplete
information. We generally addressed these errors by contacting the state
Medicaid department officials involved and clarifying their responses. We
did not independently verify the data reported by states in the
questionnaire; however, we reviewed published data submitted by state
Medicaid programs to the Centers for Medicare & Medicaid Services
(CMS) and to outside researchers to assess the reasonableness of the
data reported. We believe the data are reliable for our purposes.
Assessing compliance with federal requirements and limits related to
nonfederal sources of funds was not within the scope of this review.




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                            Medicaid Financing in Three Selected States




                            To obtain more in-depth information on the potential implications of
Analysis of Changes         changes in states’ reliance on health care providers and local
in Financing of             governments to finance the nonfederal share, we interviewed state
                            Medicaid department officials and officials from hospitals and nursing
Nonfederal Share in         home provider associations, and analyzed data from a nongeneralizable
California, Illinois, and   sample of three states: California, Illinois, and New York. To ensure that
                            we identified a range of states for our in-depth analysis, we selected
New York for                states with
Selected Financing
                                large Medicaid programs, based on spending for Medicaid services in
Arrangements                •
                                2010;
                            •   large amounts of spending for certain supplemental Medicaid
                                payments to providers;
                            •   reported use of various sources of funds to finance the nonfederal
                                share;
                            •   reported changes to regular Medicaid payment rates or amounts in a
                                given year from 2008 through 2011 and a reported new or changed
                                provider tax during the same year; 2 and
                            •   geographic diversity.

                            These criteria allowed us to obtain information from state Medicaid
                            departments in a diverse mix of states, but the findings from our in-depth
                            analysis cannot be generalized to all states.

                            We identified and selected one large financing arrangement in each
                            selected state. We asked Medicaid officials from each selected state to
                            identify the largest increase in funds from health care providers and local
                            governments as a result of a new or revised source of funds during state
                            fiscal years 2008 through 2012. 3 Based on states' responses, we then
                            obtained and analyzed Medicaid payment data for one increase in each
                            state. Specifically, we obtained and analyzed Medicaid payment data
                            from before and after the increase to assess the effect of the change on



                            2
                             See GAO, Medicaid: State Made Multiple Program Changes, and Beneficiaries Generally
                            Reported Access Comparable to Private Insurance, GAO-13-55 (Washington, D.C.:
                            Nov. 15, 2012).
                            3
                             We asked for the largest change in funds for four types of Medicaid services—inpatient
                            hospital services, outpatient hospital services, nursing facility services, and intermediate
                            care facility services for the intellectually disabled.




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the amounts of Medicaid payments providers received and on the
amounts of state general funds and federal funds used for these
payments. As part of our analysis in California and Illinois, we estimated
the amount of regular Medicaid payments to providers, provider taxes
collected, and the state and federal share of Medicaid had the increases
in provider taxes and Medicaid payments not taken place. We did not
independently verify the accuracy of the reported Medicaid data.
However, we checked the data for discrepancies and omissions and
interviewed state officials to resolve any identified discrepancies. On the
basis of this review, we determined that the Medicaid data were
sufficiently reliable for the purposes of this report.

To gather additional information related to both the extent to which states
are relying on funds from health care providers and local governments to
finance the nonfederal share of Medicaid and the extent to which states’
reliance on funds from health care providers and local governments to
finance the nonfederal share of Medicaid payments has changed over
time, and the implications of any changes, we interviewed a range of
experts and organizations. For example, we interviewed CMS officials,
including representatives from regional offices; experts from the National
Association of Medicaid Directors, the National Conference of State
Legislatures, the National Association of State Budget Officers, the
National Association of Counties, and the Medicaid and CHIP Payment
and Access Commission; as well as officials from the American Hospital
Association and American Health Care Association in each state of our
nongeneralizable sample of states.




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Appendix II: Medicaid Financing
                                            Appendix II: Medicaid Financing Arrangements
                                            Used to Generate Federal Payments and
                                            Actions to Address Them


Arrangements Used to Generate Federal
Payments and Actions to Address Them

                                                                                                Federal legislative and regulatory action
Financing arrangement                       Description                                         taken from 1987 through 2002
Excessive payments to state health          States made excessive Medicaid payments             In 1987, the Health Care Financing
facilities                                  to state-owned health facilities, which             Administration (HCFA, now called the
                                            subsequently returned these funds to the            Centers for Medicare & Medicaid Services,
                                            state treasuries.                                   or CMS) issued regulations that established
                                                                                                payment limits specifically for inpatient and
                                                                                                institutional facilities operated by states.
Provider taxes and donations                Revenues from provider-specific taxes on            The Medicaid Voluntary Contribution and
                                            hospitals and other providers and from              Provider-Specific Tax Amendments of 1991
                                            provider “donations” were matched with              imposed restrictions on provider donations
                                            federal funds and paid to the providers.            and provider taxes.
                                            These providers could then return most of
                                            the federal payment to the states.
Excessive Disproportionate Share Hospital   DSH payments are meant to compensate                The Omnibus Budget Reconciliation Act of
(DSH) payments                              those hospitals that care for a                     1993 placed limits on which hospitals could
                                            disproportionate number of low-income               receive DSH payments and capped the
                                            patients. Unusually large DSH payments              amount of DSH payments individual
                                            were made to certain hospitals, which then          hospitals could receive.
                                            returned the bulk of the state and federal
                                            funds to the state.
Excessive DSH payments to state mental      A large share of DSH payments were paid             The Balanced Budget Act of 1997 limited
hospitals                                   to state-operated psychiatric hospitals,            the proportion of a state’s DSH payments
                                            where they were used to pay for services            that can be paid to institutions for mental
                                            not covered by Medicaid or were returned            disease and other mental health facilities.
                                            to the state treasuries.
Upper Payment Limit (UPL) for local         In an effort to ensure that Medicaid                The Medicare, Medicaid, and SCHIP
government health facilities                payments are reasonable, federal                    Benefits Improvement and Protection Act of
                                            regulations prohibit Medicaid from paying           2000 required HCFA to issue a final
                                            more than a reasonable estimate of the              regulation that established a separate
                                            amount that would be paid under Medicare            aggregate payment limit for local
                                            payment principles for comparable                   government health facilities. HCFA issued
                                            services. This UPL applies to payments              its final regulation on January 12, 2001. In
                                            aggregated across a class of facilities and         2002, CMS issued a regulation that further
                                            not for individual facilities. As a result of the   lowered the payment limit for local public
                                            aggregate upper limit, states were able to          hospitals.
                                            make large supplemental payments to a
                                            few local public health facilities, such as
                                            hospitals and nursing homes. The local
                                            government health facilities then returned
                                            the bulk of the state and federal payments
                                            to the states.
Source: GAO. | GAO-14-627

                                            Note: See GAO, Medicaid Financing: Long-standing Concerns about Inappropriate State
                                            Arrangements Support Need for Improved Federal Oversight, GAO-08-650T (Washington, D.C.:
                                            Apr. 3, 2008).




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Appendix III: Percentage and Amount of the
              Appendix III: Percentage and Amount of the
              Nonfederal Share of Medicaid from Providers
              and Local Governments in 2012


Nonfederal Share of Medicaid from
Providers and Local Governments in 2012
              Table 3 presents information from interactive figure 2 on the percentage
              and amount of the nonfederal share from health care providers and local
              governments in each state in state fiscal year 2012.

              Table 3: The Percentage and Amount of the Nonfederal Share of Medicaid
              Payments from Health Care Providers and Local Governments in State Fiscal Year
              2012, by State

              State                                           Percentage               Dollar amount
              Alabama                                              46.3%                 $812,910,877
              Alaska                                                   0.0                           0
              Arizona                                                21.9                 548,422,860
              Arkansas                                               19.6                 214,212,997
              California                                             41.4              10,438,370,617
              Colorado                                               27.2                 622,957,553
              Connecticut                                            16.0                 524,890,185
              Delaware                                                 0.0                           0
              District of Columbia                                   10.6                  43,149,746
              Florida                                                33.6               3,481,414,295
              Georgia                                                18.0                 561,002,851
              Hawaii                                                   0.0                           0
              Idaho                                                  18.6                  83,074,695
              Illinois                                               31.1               1,935,546,522
              Indiana                                                37.3                 817,409,302
              Iowa                                                   27.1                 353,865,764
              Kansas                                                   3.2                 35,689,873
              Kentucky                                               21.3                 345,738,461
              Louisiana                                                8.1                181,976,351
              Maine                                                  18.1                 152,827,017
              Maryland                                               19.7                 717,307,156
              Massachusetts                                          12.6                 795,911,726
              Michigan                                               33.4               1,391,000,000
              Minnesota                                                8.8                379,151,928
              Mississippi                                            31.0                 351,696,744
              Missouri                                               52.5               2,002,329,551
              Montana                                                  7.0                 21,632,887
              Nebraska                                                 4.8                 33,874,996
              Nevada                                                 25.7                 194,547,278
              New Hampshire                                          30.2                 192,902,003




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Nonfederal Share of Medicaid from Providers
and Local Governments in 2012




State                                              Percentage                   Dollar amount
New Jersey                                                   6.8                   366,999,704
New Mexico                                                   8.2                    82,744,417
New York                                                   35.9                10,279,054,243
North Carolina                                               9.7                   452,901,232
North Dakota                                                 1.5                      4,719,614
Ohio                                                       24.2                  1,421,662,970
Oklahoma                                                   13.3                    207,411,553
Oregon                                                     17.3                    331,000,000
Pennsylvania                                               14.5                  1,320,115,000
Rhode Island                                               22.5                    199,800,000
South Carolina                                             31.1                    462,578,752
South Dakota                                                 0.5                      1,283,367
Tennessee                                                  33.4                    928,596,969
Texas                                                      13.0                  1,487,906,059
Utah                                                       19.1                    105,665,100
Vermont                                                    29.1                    160,627,958
Virginia                                                     0.9                    32,874,899
Washington                                                 20.8                    517,066,896
West Virginia                                              21.7                    161,760,948
Wisconsin                                                  32.1                    829,634,790
Wyoming                                                      8.4                    22,228,565
Source: GAO. | GAO-14-627

Note: “Health care providers and local governments” includes funds from health care providers
though provider taxes and provider donations and from local governments through intergovernmental
transfers and certified public expenditures.




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Appendix IV: Provider Tax Analysis
                       Appendix IV: Provider Tax Analysis




                       This appendix provides the results of our analysis of provider tax data
                       states reported in our questionnaire and views expressed by provider
                       association officials we interviewed. In analyzing states’ reported data, we
                       calculated the number of new taxes and the reported uses of tax revenue
                       for new taxes implemented from state fiscal years 2008 through 2012 and
                       reviewed the rates at which taxes were levied and how they compared to
                       a federal threshold. In interviewing provider association officials, we
                       obtained their views regarding states’ use of provider taxes to finance the
                       nonfederal share of Medicaid payments.


                       The number of provider taxes in effect increased by 40, or about
Number of New Taxes    34 percent, from 2008 through 2012, and the reported purposes of the
and Reported Uses of   new taxes were primarily to finance payments, rather than expand
                       benefits or services, based on our analysis of state questionnaire
Tax Revenue            responses. The total number of provider taxes increased from 119 in
                       42 states in 2008 to 159 in 47 states in 2012, for an increase of about
                       34 percent. A total of 63 new provider taxes were implemented in 32
                       states during this period. 1 When asked in the questionnaire about the
                       uses of revenue from these taxes, states often cited multiple uses, such
                       as financing fee-for-service Medicaid payments (cited 34 times), non-
                       Disproportionate Share Hospital (DSH) supplemental payments (cited
                       31 times), and DSH supplemental payments (cited 13 times), as well as
                       avoiding cuts in benefits (cited 27 times) and expanding benefits or
                       services (cited 11 times). 2




                       1
                        From 2008 through 2012, 23 provider taxes were ended. When combined with the 63
                       new provider taxes implemented from 2008 through 2012, the net increase is 40 provider
                       taxes.
                       2
                       States could report multiple uses for each new tax.




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                       Based on our analysis of state questionnaire responses, of the 831 taxes
Rates at Which Taxes   reported by states, 63 were levied as a percentage of net patient service
Are Levied and How     revenues from 2008 through 2012, and all 63 were at or below the federal
                       hold-harmless threshold and therefore would be deemed not to have
They Compare to        provided a guarantee that providers will receive their money back. 3 Under
Federal Threshold      federal requirements, states must not hold providers harmless (e.g., must
                       not provide a direct or indirect guarantee that providers will receive their
                       money back). However, taxes at or below the threshold—6 percent of net
                       patient service revenues in 2012—are deemed to comply with the
                       guarantee requirement. Figure 9 illustrates for each year from 2008
                       through 2012 the number of tax rates levied as a percentage of net
                       patient service revenue. From 2008 through 2012, most tax rates were
                       within 1 percentage point of the threshold. From 2008 through 2012, the
                       threshold was reduced from 6 to 5.5 percent from January 1, 2008,
                       through September 30, 2011, and then returned to 6 percent beginning in
                       October 1, 2011. 4 During the time the threshold was reduced, states with
                       a tax that was previously at 6 percent reported that their tax rate was
                       reduced to 5.5 percent. According to Centers for Medicare & Medicaid
                       Services (CMS) officials, the agency did not conduct a comprehensive
                       review of states’ provider tax rates when the threshold was reduced to
                       ensure that states’ tax rates did not exceed the threshold. Moreover,
                       states are not always required to demonstrate to CMS that their taxes are
                       levied at a rate at or below the threshold. CMS may review tax rates on a
                       case-by-case basis when reviewing state plan amendments or conducting
                       other oversight reviews, such as reviews of provider taxes when a state
                       requests a waiver of requirements that the tax be broad-based and
                       uniformly imposed. CMS officials stated that they have an internal system
                       for tracking these waivers. In May 2014, CMS officials stated that from
                       2008 through 2012, the agency reviewed and approved waivers of the



                       3
                        For purposes of comparing provider taxes to the federal hold-harmless threshold, we
                       identified taxes levied as a percentage of net patient service revenues, and when counting
                       the total number of such taxes, we counted a tax more than once when a tax was levied
                       using different tax rates during a given year. For example, if for 6 months of the year a tax
                       was levied at 4 percent of net patient service revenues, and for the other 6 months the tax
                       was levied at 6 percent of net patient service revenues, we counted this as two taxes. For
                       taxes that were reported as not being levied as a percentage of net patient service
                       revenues, we used a similar approach in counting these taxes.
                       4
                        The Tax Relief and Health Care Act of 2006 lowered the threshold from 6 percent to
                       5.5 percent, from January 1, 2008, to September 30, 2011. The threshold returned to
                       6 percent on October 1, 2011. Pub. L. No. 109-432, § 403, 120 Stat. 2922, 2994-5 (2006).




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requirements that provider taxes be broad-based and uniformly imposed
in 29 states.

Figure 9: Federal Provider Tax Threshold and State Provider Tax Rates for Taxes
Levied as a Percentage of Net Patient Service Revenue from 2008 through 2012




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                    Notes: The federal hold-harmless threshold is based on a federal fiscal year. The Tax Relief and
                    Health Care Act of 2006 lowered the federal hold-harmless threshold from 6 percent to 5.5 percent,
                    from January 1, 2008, to September 30, 2011. The provider tax rates are based on state fiscal years.


                    The 768 remaining taxes reported by states in our questionnaire were
                    either levied on a percentage of revenues other than net patient service
                    revenues or were not levied as a percentage of revenue. A total of 445
                    taxes were levied on a percentage of revenues other than net patient
                    services revenues, and included gross revenues, net operating revenues,
                    and non-Medicare patient revenue. In some cases, these taxes were
                    levied at a rate above 6 percent. In May 2014, CMS officials stated that if
                    the agency reviewed a tax levied on a type of revenue other than net
                    patient service revenues, CMS would have the state perform calculations
                    to demonstrate to CMS that if the tax was levied as a percentage of net
                    patient service revenues, it would fall at or below the threshold. A total of
                    323 taxes were not levied on revenues, and included taxes based on
                    dollar amounts per bed day or a flat tax per year. According to CMS
                    officials, in reviewing these types of taxes, the agency would have the
                    state perform calculations to demonstrate to CMS that if the tax was
                    levied as a percentage of net patient service revenues, it would fall at or
                    below the threshold.


                    The officials we interviewed from provider associations representing
Views of Provider   inpatient hospitals and nursing homes, the most common types of
Associations        providers taxed, reported that while the providers would prefer not to be
                    subject to a provider tax, the associations have worked with the states to
                    make them acceptable to the providers they represent. Officials from the
                    provider associations said that factors that made provider taxes
                    acceptable to the providers they represent included recognition that

                    •    without the tax revenue, states would likely reduce Medicaid
                         payments to providers;
                    •    revenue from the taxes would be used for making Medicaid payments
                         to providers; and
                    •    the state would provide assurances that tax revenue would be used
                         for Medicaid payments. For example, officials said that one state
                         passed a law requiring the tax revenues to be used to make Medicaid
                         payments, and one state created a fund into which all tax revenues
                         were deposited. Revenues in the fund were used to make Medicaid
                         payments to providers.




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Officials noted that providers are more reluctant to accept provider taxes
when they lack assurance that the tax revenue would be used for
Medicaid payments. Officials also noted that providers that serve fewer
Medicaid patients are less accepting of new provider taxes.




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Appendix V: Changes in Percentage and
                                           Appendix V: Changes in Percentage and
                                           Amount of the Nonfederal Share of Medicaid
                                           from Providers and Local Governments


Amount of the Nonfederal Share of Medicaid
from Providers and Local Governments
                                           Table 4 presents information from interactive figure 4 on changes in the
                                           percentage and amount of the nonfederal share from health care
                                           providers and local governments in each state during state fiscal years
                                           2008 through 2012.

Table 4: Changes in the Percentage and Amount of the Nonfederal Share of Medicaid Payments from Health Care Providers
and Local Governments, State Fiscal Years 2008 through 2012, by State

                                                     Percentage change                                            Dollar amount
                       Percentage    Percentage              from 2008     Dollar amount      Dollar amount    change from 2008
State                      in 2008       in 2012          through 2012            in 2008            in 2012       through 2012
Alabama                     31.3%         46.3%                  48.0%      $473,154,906       $812,910,877          $339,755,971
Alaska                         0.0           0.0                    0.0                  0                 0                    0
Arizona                       18.8          21.9                   16.3      455,602,156         548,422,860           92,820,704
Arkansas                      13.1          19.6                   50.3      118,040,777         214,212,997           96,172,220
California                    33.4          41.4                   24.1     6,274,278,047     10,438,370,617        4,164,092,570
Colorado                      10.1          27.2                 169.6       155,313,803         622,957,553          467,643,750
Connecticut                    6.4          16.0                 151.4       143,430,953         524,890,185          381,459,232
Delaware                       0.0           0.0                    0.0                  0                 0                    0
District of Columbia           8.9          10.6                   19.8        25,392,187         43,149,746           17,757,559
Florida                       25.4          33.6                   32.5     1,862,821,898      3,481,414,295        1,618,592,397
Georgia                       15.6          18.0                   15.7      478,021,765         561,002,851           82,981,086
Hawaii                         0.0           0.0                    0.0                  0                 0                    0
Idaho                          0.3          18.6                5361.5          1,174,757         83,074,695           81,899,938
Illinois                      12.6          31.1                 146.6       793,649,165       1,935,546,522        1,141,897,357
Indiana                        6.7          37.3                 452.8       120,708,692         817,409,302          696,700,610
Iowa                          21.0          27.1                   29.0      214,509,247         353,865,764          139,356,517
Kansas                         4.3           3.2                 (26.4)        38,826,223         35,689,873           (3,136,350)
Kentucky                      22.2          21.3                  (4.1)      319,339,753         345,738,461           26,398,708
Louisiana                      6.9           8.1                   17.5      113,087,417         181,976,351           68,888,934
Maine                         16.7          18.1                    8.8      131,019,354         152,827,017           21,807,663
Maryland                       3.9          19.7                 411.3       107,533,362         717,307,156          609,773,794
Massachusetts                 10.8          12.6                   16.1      565,902,437         795,911,726          230,009,289
Michigan                      32.1          33.4                    4.0     1,314,900,000      1,391,000,000           76,100,000
Minnesota                     11.3           8.8                 (22.3)      366,101,779         379,151,928           13,050,149
Mississippi                   23.2          31.0                   33.5      195,350,214         351,696,744          156,346,530
Missouri                      55.3          52.5                  (5.1)     1,587,922,848      2,002,329,551          414,406,703
Montana                       13.5           7.0                 (48.3)        30,793,497         21,632,887           (9,160,610)
Nebraska                       1.1           4.8                 335.1          7,533,963         33,874,996           26,341,033
Nevada                        30.5          25.7                 (15.8)      183,648,519         194,547,278           10,898,759




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                                                Appendix V: Changes in Percentage and
                                                Amount of the Nonfederal Share of Medicaid
                                                from Providers and Local Governments




                                                          Percentage change                                                      Dollar amount
                            Percentage    Percentage              from 2008         Dollar amount        Dollar amount        change from 2008
State                           in 2008       in 2012          through 2012                in 2008              in 2012           through 2012
New Hampshire                      43.7          30.2                    (30.9)        356,894,685          192,902,003            (163,992,682)
New Jersey                          6.6           6.8                       3.9        308,083,588          366,999,704               58,916,116
New Mexico                          6.8           8.2                     21.1          55,636,581           82,744,417               27,107,836
New York                           34.7          35.9                       3.5      8,101,812,951       10,279,054,243            2,177,241,292
North Carolina                     27.8           9.7                    (65.2)      1,164,912,666          452,901,232            (712,011,434)
North Dakota                        2.0           1.5                    (26.8)          3,983,220             4,719,614                  736,394
Ohio                               16.5          24.2                     46.6         813,475,652        1,421,662,970              608,187,318
Oklahoma                            6.0          13.3                    122.6          65,052,561          207,411,553              142,358,992
Oregon                             10.2          17.3                     70.4         120,000,000          331,000,000              211,000,000
Pennsylvania                       14.4          14.5                       0.9      1,117,884,000        1,320,115,000              202,231,000
Rhode Island                       16.2          22.5                     39.1         139,400,000          199,800,000               60,400,000
South Carolina                     25.4          31.1                     22.4         368,674,155          462,578,752               93,904,597
South Dakota                        0.3           0.5                     68.0              683,279            1,283,367                  600,088
Tennessee                          12.6          33.4                    165.8         314,507,257          928,596,969              614,089,712
Texas                              13.7          13.0                     (5.1)      1,133,953,554        1,487,906,059              353,952,505
Utah                               12.2          19.1                     56.2          52,094,200          105,665,100               53,570,900
Vermont                            21.2          29.1                     37.2          93,882,425          160,627,958               66,745,533
Virginia                            0.1           0.9                   1371.2           1,725,674           32,874,899               31,149,225
Washington                          8.2          20.8                    153.3         131,320,302          517,066,896              385,746,594
West Virginia                      31.0          21.7                    (30.1)        183,478,121          161,760,948              (21,717,173)
Wisconsin                          17.5          32.1                     83.8         380,198,819          829,634,790              449,435,971
Wyoming                             3.0           8.4                    185.7           6,634,910           22,228,565               15,593,655
Source: GAO. | GAO-14-627

                                                Notes: “Health care providers and local governments” includes funds from health care providers
                                                though provider taxes and provider donations and from local governments through intergovernmental
                                                transfers and certified public expenditures. Percentages and dollar amounts in parentheses represent
                                                a negative number.




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Appendix VI: Comments from the
             Appendix VI: Comments from the Department
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Department of Health and Human Services




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Appendix VII: GAO Contact and Staff
                  Appendix VII: GAO Contact and Staff
                  Acknowledgments



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             Related GAO Products




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